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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*********************
JEFFREY NORRIS,          *
                         *                         No. 15-525V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: March 20, 2017
                         *
SECRETARY OF HEALTH      *                         Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                         transverse myelitis (“TM”).
                         *
             Respondent. *
*********************

Alison H. Haskins, Maglio Christopher and Toale, Sarasota, FL, for Petitioner;
Ann D. Martin, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On March 17, 2017, the parties filed a joint stipulation concerning the
petition for compensation filed by Jeffrey Norris on May 22, 2015. In his petition,
petitioner alleged that the influenza vaccine, which is contained in the Vaccine
Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which he received on October
2, 2013, caused him to suffer from transverse myelitis (“TM”) and/or the
significant aggravation of TM. Petitioner further alleges that he suffered the
residual effects of this injury for more than six months. Petitioner represents that
there has been no prior award or settlement of a civil action for damages on his
behalf as a result of his condition.




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         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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      Respondent denies that the influenza vaccine caused petitioner to suffer
from TM and/or the significant aggravation of TM, or any other injury or his
current condition.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

            a. A lump sum of $246,045.00, which amount represents
               compensation for first year life care expenses ($31,045.00), pain
               and suffering ($170,000.00), and past unreimbursable expenses
               ($45,000.00), in the form of a check payable to petitioner, Jeffrey
               Norris.

            b. An amount sufficient to purchase the annuity contract described
               in paragraph 10 of the attached stipulation.

      This amount represents compensation for all damages that would be
available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 15-525V according to this decision
and the attached stipulation.2


       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                              OFFICE OF SPECIAL MASTERS
____________________________________
                                    )
JEFFREY NORRIS                      )
                                    )
                Petitioner,         )
    v.                              )
                                    )                        No. 15-525V
SECRETARY OF HEALTH                 )                        Special Master Moran
AND HUMAN SERVICES                  )
                                    )
               Respondent.          )
____________________________________)

                                         STIPULATION

       The parties hereby stipulate to the following matters:

       1. Jeffrey Norris, petitioner, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the “Vaccine Program”).

The petition seeks compensation for injuries allegedly related to petitioner’s receipt of an

influenza (“flu”) vaccine, which vaccine is contained in the Vaccine Injury Table (the “Table”),

42 C.F.R. § 100.3 (a).

       2. Petitioner received his flu vaccination on October 2, 2013.

       3. The vaccination was administered within the United States.

       4. Petitioner alleges that the flu vaccine caused him to suffer from transverse myelitis

(“TM”) and/or the significant aggravation of TM, and that he experienced the residual effects of

this injury for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on his behalf as a result of his condition.
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       6. Respondent denies that the flu vaccine caused petitioner to suffer from TM and/or the

significant aggravation of TM, or any other injury or his current condition.

       7. Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8. As soon as practicable after an entry of judgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21(a)(1), the Secretary of Health and Human Services will issue

the following vaccine compensation payments:

       a. A lump sum of $246,045.00, which amount represents compensation for first year life
       care expenses ($31,045.00), pain and suffering ($170,000.00), and past unreimbursable
       expenses ($45,000.00), in the form of a check payable to petitioner; and

       b. An amount sufficient to purchase the annuity contract described in paragraph 10
       below, paid to the life insurance company from which the annuity will be purchased
       (the “Life Insurance Company”).

       9. The Life Insurance Company must have a minimum of $250,000,000 capital and

surplus, exclusive of any mandatory security valuation reserve. The Life Insurance Company

must have one of the following ratings from two of the following rating organizations:

       a.       A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

       b.       Moody’s Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;

       c.       Standard and Poor’s Corporation Insurer Claims-Paying Ability Rating: AA-,
                AA, AA+, or AAA;

       d.       Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rating:
                AA-, AA, AA+, or AAA.

       10. The Secretary of Health and Human Services agrees to purchase an annuity contract

from the Life Insurance Company for the benefit of petitioner, Jeffrey Norris, pursuant to which



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the Life Insurance Company will agree to make payments periodically to petitioner as follows:

       For future unreimbursable attendant care and medical equipment expenses, beginning on
       the first anniversary of the date of judgment, an annual amount of $31,045.00 to be paid
       for the remainder of petitioner’s life, increasing at the rate of three percent (3%),
       compounded annually from the date of judgment.

At the sole discretion of the Secretary of Health and Human Services, the periodic payments set

forth in paragraph 10 above may be provided to petitioner in monthly, quarterly, annual or other

installments. The “annual amounts” set forth above describe only the total yearly sum to be paid

to petitioner and do not require that the payment be made in one annual installment. Petitioner

will continue to receive the annuity payments from the Life Insurance Company only so long as

he, Jeffrey Norris, is alive at the time that a particular payment is due. Written notice shall be

provided to the Secretary of Health and Human Services and the Life Insurance Company within

twenty (20) days of Jeffrey Norris’s death.

       11. The annuity contract will be owned solely and exclusively by the Secretary of Health

and Human Services and will be purchased as soon as practicable following the entry of a

judgment in conformity with this Stipulation. The parties stipulate and agree that the Secretary

of Health and Human Services and the United States of America are not responsible for the

payment of any sums other than the amounts set forth in paragraph 8 herein and the amounts

awarded pursuant to paragraph 12 herein, and that they do not guarantee or insure any of the

future annuity payments. Upon the purchase of the annuity contract, the Secretary of Health and

Human Services and the United States of America are released from any and all obligations with

respect to future annuity payments.

       12. As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(1), and an application, the parties will submit to further proceedings

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before the special master to award reasonable attorneys’ fees and costs incurred in proceeding

upon this petition.

        13. Petitioner and his attorney represent that they have identified to respondent all

known sources of payment for items or services for which the Program is not primarily liable

under 42 U.S.C. § 300aa-15(g), including State compensation programs, insurance policies,

Federal or State health benefits programs (other than Title XIX of the Social Security Act

(42 U.S.C. § 1396 et seq.)), or entities that provide health services on a pre-paid basis.

        14. Payments made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 12 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i),

subject to the availability of sufficient statutory funds.

        15. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys’ fees and litigation costs, and past unreimbursable expenses, the money provided

pursuant to this Stipulation either immediately or as part of the annuity contract, will be used

solely for petitioner’s benefit as contemplated by a strict construction of 42 U.S.C. §§ 300aa-

15(a) and (d), and subject to the conditions of 42 U.S.C. §§ 300aa-15(g) and (h).

        16. In return for the payments described in paragraphs 8 and 12, petitioner, in his

individual capacity, and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300 aa-10 et seq., on account of, or in any way growing out of, any and all



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known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, the flu vaccination administered on October 2, 2013, as

alleged by petitioner in a petition for vaccine compensation filed on or about May 22, 2015, in

the United States Court of Federal Claims as petition No. 15-525V.

       17. If petitioner should die prior to entry of judgment, this agreement shall be voidable

upon proper notice to the Court on behalf of either or both of the parties.

       18. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties’

settlement and this Stipulation shall be voidable at the sole discretion of either party.

       19. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 12 above. There is absolutely no agreement on the part of the

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties’ respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

       20. Petitioner hereby authorizes respondent to disclose documents filed by petitioner in

this case consistent with the Privacy Act and the routine uses described in the National Vaccine

Injury Compensation Program System of Records, No. 09-15-0056.




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       21. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner to suffer from TM

and/or the significant aggravation of TM, or any other injury or his current condition.

       22. All rights and obligations of petitioner hereunder shall apply equally to petitioner’s

heirs, executors, administrators, successors, and/or assigns.

                                    END OF STIPULATION
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Respectfully submitted,

PETITIONER:



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  F       NO

ATTORNEY OF RECORD FOR                     AUTHORIZED REPRESENTATlVE
PETITIONER:                                OF THl!; ATTORNEY GENERAL:




                                           '~E:!----
                                              p y irector
                                           Torts Branch
                                           Civil Division
                                           U.S. Department of Justice
                                           P.O. Box 146
                                           Benjamin Franklin Station
                                           Washington, DC 20044-0146


AUTHORIZED REP SENTATIVE                   ATTORNEY OF RECORD FOR
OF THE SECRET Y F HEALTH                   RESPONDENT:
AND HU     S VIC 1 S:



N                  ,M.D.                   ANN D. MARTIN
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Dated:    S - / 7 -/ 7


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